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_ . United States Distr;
AO 91 (Rev 8/01) _ Criminal Complaint ~ Southem Bitrato et Court
| United States District Court MAY ~ 4 201g
SOUTHERN DISTRICT OF TEXAS
' MCALLEN DIVISION f aver. Bractiey, Clerk
UNITED STATES OF AMERICA
Vv. CRIMINAL COMPLAINT
1. Jorge Manuel Zamacona-Gallegos = PRINCIPAL Mexico Case Number:
YOB: ‘4999 M-19- 1023 -M
2. Maria Silveria Guerrero De Garza CO-PRINCIPAL Mexico ;
‘ . YOB: 1980
3. Vicente David Saldivar-Frausto CO-PRINCIPAL Mexico
YOB: 1978
4, Saul Baez Jr. CO-PRINCIPAL United States
. YOB: 1992

(Name and Address of Defendant)
I, the undersigned complainant being duly sworn state the following is true and correct to the best of my

knowledge and belief. On or about May 2, 2019 in Hidalgo County, in
the Southern District of | Texas defendants(s) did,

(Track Statutory Language of Offense)

knowing or in reckless disregard of the fact that Helson Josue Palma-Montes and Walter Martin Orellana-
Enamorado, citizens of Honduras, along with eight (8) other undocumented aliens, for a total of ten (10), who
had entered the United States in violation of law, concealed, harbored or shielded from detection or attempted
to conceal, harbor, or shield from detection such aliens in any place, including any building or means of
transportation, to-wit; a residence located in Mission, Texas.

 

in violation of Title 8 United States Code, Section(s) 1324(a}(1)(A)(iii) FELONY
I further state that I am a(n) U.S. Senior Border Patrol Agent and that this complaint is based on the ~
following facts: ,

On May 1, 2019, Border Patrol Agents received information regarding a residence being used to harbor illegal
aliens. The residence is located at 6009 Brushy Lane Mission, Texas 78574.

On May 2, 2019, agents conducting surveillance at the residence and observed a silver Jeep depart the
residence. Several minutes later, the silver Jeep was observed traveling in tandem with a grey Jeep, heading back
towards the residence.

 

SEE ATTACHED
Continued on the attached sheet and made a part of this complaint: [x]Yes C] No
/S/ Jon Chan
Submitted by reliable electronic means, sworn to and attested to Signature of Complainant .
telephonically per Fed. R. Cr. P. 4.1, and probable cause found on: Jon Chan Senior Patrol Agent

 

Printed Name of Complainant

May 4,2019 __ 11:39 a.m. at Mcallen, Texas’... -

Date — City and State - —
Peter E. Ormsby _U. S. Magistrate Judge (tte Z cnn

t

 

Name and Title of Judicial Officer Signature of Judicial Officer

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- UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF TEXAS
McALLEN, TEXAS

_ ATTACHMENT TO GRIMINAL COMPLAINT:
m-19-/028 -m

1. Jorge Manuel Zamacona-Gallegos
2. Maria Silveria Guerrero De Garza
3. Vicente David Saldivar-Frausto

4, Saul Baez Jr.

CONTINUATION: ;

Prior to reaching Brushy Lane, agents observed the two vehicles park side by side; the driver of the silver
Jeep proceeded to transfer several gallons of water and grocery bags into the grey Jeep. The silver Jeep
then departed the area, traveling north, as the grey Jeep proceeded to the suspected stash residence.

A deputy with the Hidalgo County Constables Office (HCCO) located the silver Jeep that traveled
north, The deputy conducted a traffic stop on the silver Jeep for having defective equipment, the rear top
tail light was not functioning. The deputy approached the driver, later identified as Vicente David
Saldivar-Frausto. Shortly thereafter, Saldivar accelerated, nearly stricking the deputy, and drove for.
approximately 200 yards before exiting the Jeep and attempting to abscond. After a brief foot pursuit,
Saldivar was apprehended. Border Patrol Agents arrived on scene and conducted an immigration
inspection on Saldivar, who admitted to being illegally present in the United States. Agents advised
Saldivar of his Miranda Rights and questioned him in regards to his involvement in alien

smuggling. Saldivar indicated that he was currently harboring ten (10) undocumented aliens in a rear
residence located at the aforementioned address. Saldivar claimed he had been renting the residence for
three (3) weeks and was paying $500 per month. Saldivar stated that the front door was unlocked and
there was no key. Saldivar provided agent with written consent to search the residence.

Shortly after the silver Jeep was stopped, agents observed the grey Jeep depart the residence, Agents
maintained visual of the grey Jeep and contacted the HCCO for assistance. An HCCO Deputy conducted a
traffic stop on the grey Jeep for a broken rear tail light. Agents approached the traffic stop and identified
the driver as Saul Baez Jr., a United States Citizen. Agents questioned Baez in regards to the residence
and his involvement in alien smuggling. Baez stated that a blonde female who lives at the aforementioned
address paid him $100 to deliver food to the rear residence on the property. Baez believed that the people
at the residence were undocumented aliens.

Agents, along with HCCO Deputies, proceeded to the aforementioned address and simultaneously
knocked on the front doors of the front residence as well as the rear residence.

The agents and deputies who approached the rear residence, knocked on the front door and identified

themselves as law enforcement. Having been given written consent to search the residence, agents
encountered nine (9) subjects who were determined to be illegally present in the United States.

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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF TEXAS
McALLEN, TEXAS

ATTACHMENT TO CRIMINAL COMPLAINT:
u-19-/0Z8 -M

RE: 1. Jorge Manuel Zamacona-Gallegos
2. Maria Silveria Guerrero De Garza
3. Vicente David Saldivar-Frausto -
4. Saul Baez Jr.

CONTINUATION:

The agents who approached the front residence, knocked on the front door and identified themselves as law
enforcement. Two subjects, identified as Maria Silveria Guerrero-De Garza, and Jorge Manuel Zamacona-
Gallegos, answered the front door and exited the trailer. Both subjects were questioned regarding their
immigration status. Guerrero stated she was a Lawful Permanent Resident and Zamacona admitted to

being illegally present in the United States. Both subjects were subsequently advised of their Miranda
Rights. Guerrero verbally granted agents with consent to search her residence. Agents entered the
residence and located a male subject attempting to conceal himself in a kitchen sink cabinet. Agents
questioned the subject in regards to his immigration status to which the subject admitted to being illegally.
present in the United States. All subjects encountered were placed under arrest and transported to the
Border Patrol Station for processing.

PRINCIPAL 1 STATEMENT:
Jorge Manuel Zamacona-Gallegos, a citizen and national of Mexico, was advised of his Miranda Rights
and agreed to provide a sworn statement.

Zamacona claimed that his girlfriend (Maria Silveria Guerrero De Garza) was renting the residence they
were living in. Zamacona stated that on May 2, 2019, he observed a white truck drop off a male subject
who went into his residence. Zamacona admitted that he knew the subject was illegally present in the
United States.

Zamacona identified Vicente Saldivar-Frausto, through a photo lineup, as the person who rented the stash
house.

Zamacona identified Saul BAEZ Jr., through a photo lineup, as the person dropping off illegal aliens at the
stash house.

PRINCIPAL 2 STATEMENT:

Maria Silveria Guerrero De Garza, a Lawfully Permanent Resident, was advised of her Miranda Rights and
refused to provide a sworn statement without the presence of an attorney.

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UNITED STATES DISTRICT COURT

SOUTHERN DISTRICT OF TEXAS
McALLEN, TEXAS

ATTACHMENT TO CRIMINAL COMPLAINT:
M-19-/O28 -M

RE: 1. Jorge Manuel Zamacona-Gallegos
2. Maria Silveria Guerrero De Garza
3. Vicente David Saldivar-Frausto
4. Saul Baez Jr.

CONTINUATION:

PRINCIPAL 3 STATEMENT: Vicente David Saldivar-Frausto, a citizen and national of Mexico, was
advised of his Miranda Rights, and agreed to provide a sworn statement.

Saldivar claimed he had been instructed to deliver food to another person who was going to deliver the food
to the stash residence. Saldivar stated that after transferring the food to the other person he was pulled over
by police but he attempted to flee.

Saldivar indicated that he received $100 every time he purchased food for the stash house, Saldivar claimed
he has been paid approximately six (6) different times for purchasing food for the stash house. Saldivar
stated that’““Chaparra” (Maria Silveria Guerrero De Garza) would provide him with the money to purchase
food for the stash house and would tell him which days to deliver the food. Saldivar claimed that Guerrero’s
boyfriend (Jorge Manuel Zamacona-Gallegos), offered to pay him $250 to pick up undocumented aliens, to
which Saldivar declined.

Saldivar identified Jorge Manuel Zamacona-Gallegos, through a photo lineup, as the person who offered him
money to pick up undocumented aliens.

Saldivar identified Maria Silveria Guerrero De Garza, through a photo lineup, as “Chaparra,” the subject
who paid him to pick up and drop off the food.

PRINCIPAL 4 STATEMENT:

Saul Baez Jr., a United States Citizen, was advised of his Miranda Rights and agreed to provide a sworn
statement.

Baez claimed he was contacted by “Chaparra” (Maria Silveria Guerrero De Garza) and was asked to pick up
food. Baez was later contacted and told where to meet and receive the food. Baez proceeded to the location
and was given bags of food, packages of water, and $150. When Baez was receiving the money, he was told
it was from “Chaparra.”: ,

Baez identified Maria Silveria Guerrero De Garza (Chaparra), through a photo lineup.

Baez identified Vicente David Saldivar-Frausto, through a photo lineup, as the person who gave him the
groceries.

Baez identified Jorge Manuel Zamacona-Gallegos, through a photo lineup, as the boyfriend of Guerrero
(Chaparra). oe tS

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UNITED STATES DISTRICT COURT

SOUTHERN DISTRICT OF TEXAS
McALLEN, TEXAS

ATTACHMENT TO CRIMINAL COMPLAINT:
M-19-/02 -M

RE: 1. Jorge Manuel Zamacona-Gallegos
2. Maria Silveria Guerrero De Garza
3. Vicente David Saldivar-Frausto
4. Saul Baez Jr.

CONTINUATION:

MATERIAL WITNESS 1 STATEMENT:

Helson Josue Palma-Monites, a citizen and national of Honduras, was advised of his Miranda Rights and
agreed to provide a sworn statement,”

Palma claimed his father made his smuggling arrangements but he was unsure how much money was to be
paid, Palma crossed the Rio Grande River on a raft, was picked up by a vehicle, and was transported to the
- house he was encountered in. Palma stated that a male subject took away his cellphone and would also
take them food. Palma further stated that there was another male subject who would also take them food
and drinks,

Palma identified Jorge Manuel Zamacona, through a photo lineup, as the male subject who entered the
house, took his cellphone away, and gave him food.

Palma identified Vicente David Saldivar-Frausto, through a photo lineup, as the second male subject who
would also take them food.

MATERIAL WITNESS 2 STATEMENT:
Walter Martin Orellana-Enamorado, a citizen and national of Honduras, was advised of his Miranda Rights
and agreed to provide a sworn statement.

Orellana claimed he made his smuggling arrangements and paid a total of $5,000. Orellana crossed the
river, was picked up by vehicle, and was transported to the house he was encountered in. Once Orellana
was in the house, a male subject entered the house and took away his cellphone, Orellana stated that he
wasn’t treated properly at the house because he was only given one meal per day.

Orellana identified Jorge Manuel Zamacona, through a photo lineup, as the male subject who entered the
house and took his cellphone away.

 

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